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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 1:19-cv-24539-FAM

  HAPPY TAX FRANCHISING, LLC
  and MARIO COSTANZ,
  Plaintiffs,

  v.

  JAMEY HILL,
  THE J.L. HILL GROUP, LLC, et al.,
  Defendants.
 _______________________________________________/
 JAMEY HILL, THE JL HILL GROUP LLC,
 TRICIA DRAGO and BANYAN ACCOUNTING, LLC,
 Counterclaim and Third-Party Plaintiffs,
 v.
 MARIO COSTANZ, HAPPY TAX HOLDINGS CORP.,
 HAPPY TAX FRANCHISING, LLC, TED MUFTIC,
 MICHAEL HADZIPANAJOTIS and MONICA POIRIER,
 Counterclaim and Third-Party Defendants.
 _________________________________________________/



                PLAINTIFFS’ JOINT MOTION FOR ENLARGEMENT OF
                                     TIME

       Plaintiffs HAPPY TAX, FRANCHISING LLC, HAPPY TAX HOLDINGS CORP., and

  MARIO COSTANZ, file this Joint Motion for Enlargement of Time to respond to the

  Defendants’ Counterclaim and Third-Party Complaint (Doc. 125), stating as follows:

       1. Defendants served their Answer and Defenses to the Third Amended Complaint,

           Counterclaim, and Third Party-Claim on September 17, 2021.

       2. The third-party complaint adds three new parties to the case and includes counts that

           are directed at Happy Tax Franchising, LLC, Mario Costanz, and Happy Tax

           Holdings, Corp. in relationship with these new parties.


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      3. Plaintiffs seek additional time to compile responses to these new multi-party

         allegations since Plaintiff Mario Costanz had emergency surgery and has been limited

         in his ability to confer about the responses for Happy Tax Franchising and Happy Tax

         Holdings, and in drafting his own response.

      4. For these reasons, Plaintiffs seek a 30-day enlargement of time up to and including

         November 15, 2021 to file its responses. The Court has granted one enlargement for

         Happy Tax Franchising so that its response is currently due October 18, 2021. Happy

         Tax Holding Corp.'s response is currently due October 25, 2021.

      5. This request for extension is reasonable under the circumstances, is not sought for the

         purpose of delay, and will not prejudice any party.

      6. Three of the four new parties have now been served with a proposed summons issued

         for the fourth party, Ted Muftic on October 13, 2021.

         WHEREFORE, Plaintiffs respectfully requests the Court to enter an Order granting
      an enlargement of time for Plaintiffs to respond to Defendants’ Counterclaim and Third

      Party Claim by November 15, 2021.




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                        S.D. Fla. Local Rule 7.1(a)(3) Certification

        Before filing this motion, I, as counsel for the Plaintiff Happy Tax Franchising, LLC and

 Happy Tax Holdings Corp., and on behalf of pro se Plaintiff Mario Costanz, attempted to confer

 with Counsel for the Defendants, Lonnie Simpson, on October 13, 2021, in a good faith effort to

 resolve the issues raised in the motion but did not receive a response before filing. I will file an

 amendment with any future response from Defendants’ Counsel.




 Dated this 14th day of October 2021.



     Respectfully Submitted,


    Amber Robinson, Esq.
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    Counsel for Happy Tax Franchising, LLC
    and Happy Tax Holdings Corp.



      /s/ Mario Costanz
     __________________________________
     Mario Costanz
     Pro se




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                              CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that on October 14, 2021, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF to those parties

  registered to receive electronic notices of filing in this case.


  /s/ AMBER ROBINSON

  ATTORNEY




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